       Case 2:08-cr-00212-TLN Document 579 Filed 09/17/15 Page 1 of 3



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5
6    Attorneys for Defendant
     JUAN VEGA, JR.
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. S.08-212 TLN
12
                               Plaintiff,                 STIPULATED MOTION AND ORDER TO
13                                                        REDUCE SENTENCE PURSUANT TO 18
               v.                                         U.S.C. § 3582(c)(2)
14
     JUAN VEGA, JR.,                                      RETROACTIVE DRUGS-MINUS-TWO
15                                                        REDUCTION CASE
                               Defendant.
16                                                        Judge: Honorable TROY L. NUNLEY

17
               Defendant, JUAN VEGA, JR., by and through his attorney, Assistant Federal Defender
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     Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
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     Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:
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               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
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     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
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     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23
     pursuant to 28 U.S.C. § 994(o);
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               2.         On June 23, 2009, this Court sentenced Mr. Vega to a total term of 144 months
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     imprisonment, comprised of 48 months on each of three counts under 21 U.S.C. § 843(b);
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               3.         His total offense level was 33, his criminal history category was III, and the
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     resulting guideline range was 168 to 210 months. The statutory maximum was 144 months;
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     Stipulation and Order Re: Sentence Reduction           1
       Case 2:08-cr-00212-TLN Document 579 Filed 09/17/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Vega was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Vega’s total offense level has been reduced from 33 to 31, and his amended
5    guideline range is 135 to 168 months. The statutory maximum remains 144 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Vega’s term of imprisonment to a total term of 135 months, comprised of 48
8    months on each of Counts 12 and 13 of the Superseding Indictment and 39 months on Count 1 of
9    the Superseding Information.
10   Respectfully submitted,
11   Dated: September 16, 2015                          Dated: September 16, 2015
12   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
13
14    /s/ Jason Hitt________                            /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
15   Assistant U.S. Attorney                            Assistant Federal Defender
16   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JUAN VEGA, JR.
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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:08-cr-00212-TLN Document 579 Filed 09/17/15 Page 3 of 3



1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Vega is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
6    guideline range of 135 to 168 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2009 is
8    reduced to a term of 135 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Vega shall report to the United States Probation Office
14   within seventy-two hours after his release.
15   Dated: September 16, 2015
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                                                                   Troy L. Nunley
18                                                                 United States District Judge
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     Stipulation and Order Re: Sentence Reduction        3
